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Debtor 2                 _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

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                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                            
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                                                                                                 Principal, interest, and escrow, if any
 /DVWGLJLWVof any number you use to
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        YDULDEOHUDWHDFFRXQW"
        
        ✔    No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
             DWWDFKHGH[SODLQZK\



             &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                      1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
            5HDVRQIRUFKDQJH



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 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                              page 1

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                     .HOO\0+DPPRFN6UDQG(YHO\Q+DPPRFN                                                                
      Debtor 1       _____BB_________________________________________________                           Case number (LINQRZQ) ______________________
                     First Name          Middle Name         Last Name




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 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 8    /s/Keoviseth Seung
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      Signature
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        Seung, Keoviseth                                                                         VP Loan Documentation
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        First Name                Middle Name               Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                       Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                                     State      ZIPCode



                     800-274-7025                                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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Official Form 410S1                                                     1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                page 


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                      UNITED STATES BANKRUPTCY COURT
                                                         Northern District of Ohio


                                                     Chapter 13 No. 1813233
                                                     Judge: JESSICA E. PRICE SMITH

In re:
Kelly M. Hammock, Sr. and Evelyn Hammock
                                            Debtor s 

                                            CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 22, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     Kelly M. Hammock, Sr. and Evelyn Hammock
                                     3608 Riverside Avenue

                                     Cleveland OH 44109



                                   %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     N/A




Debtor’s Attorney:                 %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Melissa L. Resar

                                    614 W Superior Avenue #950

                                    Cleveland OH 44113-1306


                                   %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    N/A




Trustee:                           %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     Lauren A. Helbling

                                     200 Public Square Suite 3860

                                     Cleveland OH 44114-2321

                                                           @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                           /s/Keoviseth Seung
                                                            VP Loan Documentation
                                                            Wells Fargo Bank, N.A.
           18-13233-jps        Doc         FILED 05/21/20           ENTERED 05/21/20 13:17:39             Page 3 of 7
                                   Return Mail Operations                                    Escrow Review Statement
                                   PO Box 14547
                                                                                             For informational purposes only
                                   Des Moines, IA 50306-4547
                                                                                             Statement Date:                                    May 11, 2020
                                                                                             Loan number:
                                                                                             Property address:
                                                                                                  3608 RIVERSIDE DRIVE
                                                                                                  CLEVELAND OH 44109-2340


                                                                                             Customer Service
                                                                                                   Online                          Telephone
                                                                                                   wellsfargo.com                  1-800-340-0473
            KELLY M HAMMOCK SR
                                                                                                   Correspondence                  Hours of operation
            3608 RIVERSIDE DRIVE                                                                   PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
            CLEVELAND OH 44109                                                                     Des Moines, IA 50306
                                                                                                   To learn more, go to:
                                                                                                   wellsfargo.com/escrow


                                                                                                     We accept telecommunications relay service calls



  PLEASE NOTE: If you are presently seeking relief (or have previously been granted
  relief) under the United States Bankruptcy Code, this statement is being sent to you
  for informational purposes only. The summaries below are based on the terms of the
  loan and are provided for informational purposes only.
  These amounts are governed by the terms of the loan unless otherwise reduced by an
  order of the bankruptcy court. Because the amounts billed for the escrow items can
  change over time, we review the escrow account at least once per year to ensure there
  will be enough money to make these payments. Once the review is complete, we send
  the escrow review statement, also known as the escrow account disclosure statement.
                                                                                               The escrow account has a shortage of
  Here's what we found:
       • Required Minimum Balance: The escrow account balance is projected to                               $223.77
          fall below the required minimum balance. This means there is a shortage.

       •   Payments: As of the July 1, 2020 payment, the contractual portion of the
           escrow payment decreases.



    Part 1 - Mortgage payment

           Option 1                Pay the shortage amount over 12 months
                                    Previous payment through New payment beginning with
                                    06/01/2020 payment date   the 07/01/2020 payment
                                                                                                  Option 1: No action required
   Principal and/or interest                  $449.44                  $449.44

   Escrow payment                              $313.78                  $299.79               Starting July 1, 2020 the new contractual
   Total payment amount
                                                                                              payment amount will be $749.23
                                             $763.22                   $749.23

           Option 2                Pay the shortage amount of $223.77
                                    Previous payment through New payment beginning with
                                    06/01/2020 payment date   the 07/01/2020 payment
                                                                                                  Option 2: Pay shortage in full
   Principal and/or interest                  $449.44                  $449.44

   Escrow payment                              $313.78                  $281.14               Starting July 1, 2020 the new contractual
   Total payment amount                                                                       payment amount will be $730.58
                                             $763.22                   $730.58




                                                         See Page 2 for additional details.


                                          Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                          States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                          Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                          payments, please contact your attorney or the Trustee’s office before directly sending any
                                          amounts relating to this escrow shortage

                                                                    If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                    and mail it along with a check for $223.77 to the address that appears on this coupon.
    KELLY M HAMMOCK SR
                                                                    This payment must be received no later than July 1, 2020.


                Wells Fargo Home Mortgage
                PO Box 10394
                Des Moines, IA 50306-0394




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                                                                                                                                                Page 2 of 3
                                                                                                                         Loan Number:


        Part 2 - Payment calculations
   For the coming year, we expect the amount paid from escrow to be $3,373.62.

   How was the escrow payment calculated?
   To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
   escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
   determine the escrow amount.

   The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
   through the date of the analysis.



   Escrow comparison

                                                                                                                                          New monthly
                                        06/19 - 05/20      01/20 - 12/20 02/20 - 05/20        07/20 - 06/21
                                                                                                                         # of               escrow
                                          (Actual)           (Actual)      (Actual)            (Projected)
                                                                                                                        months              amount

   Property taxes                              $1,712.86          $857.81           $0.00        $1,715.62       ÷         12       =          $142.97
   Property insurance                         $1,658.00             $0.00           $0.00        $1,658.00       ÷         12       =          $138.17
   Total taxes and insurance                  $3,370.86           $857.81           $0.00       $3,373.62        ÷         12       =          $281.14
   Escrow shortage                              $759.09             $0.00         $397.22         $223.77        ÷         12       =            $18.65**

   Total escrow                               $4,129.95           $857.81         $397.22        $3,597.39       ÷         12       =          $299.79


   **
       This amount is added to the payment if Option 1 on page 1 is selected.


   Projected escrow account activity over the next 12 months
   To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
   greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
   balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 3 - Escrow account projections
   Lowest projected escrow balance September, 2020                               -$1,219.80          table)

   Bankruptcy adjustment‡                                                 +       $1,558.31

   Minimum balance for the escrow account†                                -        $562.28           (Calculated as: $281.14 X 2 months)


   Escrow shortage                                                        =       -$223.77


   ‡
    This adjustment of $1,558.31, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
   confirmed bankruptcy plan.
   †
    The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
   account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
   contract to determine the cash reserve.




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                                                                                                                            Loan Number:



    Part 3 - Escrow account projections
   Escrow account projections from July, 2020 to June, 2021
                                             What we
                Payments to                  expect to                                                             Projected escrow        Balance required
   Date           escrow                      pay out        Description                                               balance              in the account
   Jun 2020                                                  Starting balance                                            -$405.22                    $1,376.86
   Jul 2020              $281.14                   $0.00                                                                  -$124.08                   $1,658.00
   Aug 2020              $281.14                   $0.00                                                                   $157.06                   $1,939.14
   Sep 2020              $281.14                $1,658.00    ALLSTATE EDI ONLY                                         -$1,219.80                    $562.28
   Oct 2020              $281.14                   $0.00                                                                 -$938.66                     $843.42
   Nov 2020              $281.14                   $0.00                                                                 -$657.52                    $1,124.56
   Dec 2020              $281.14                   $0.00                                                                 -$376.38                    $1,405.70
   Jan 2021              $281.14                  $857.81    CUYAHOGA COUNTY(A)(5)                                       -$953.05                     $829.03
   Feb 2021              $281.14                   $0.00                                                                  -$671.91                   $1,110.17
   Mar 2021              $281.14                   $0.00                                                                 -$390.77                    $1,391.31
   Apr 2021              $281.14                   $0.00                                                                 -$109.63                    $1,672.45
   May 2021              $281.14                   $0.00                                                                   $171.51                   $1,953.59
   Jun 2021              $281.14                  $857.81    CUYAHOGA COUNTY(A)(5)                                       -$405.16                    $1,376.92

   Totals           $3,373.68                   $3,373.62



    Part 4 - Escrow account history
   Escrow account activity from February, 2020 to June, 2020
                         Deposits to escrow                     Payments from escrow                                                 Escrow balance
      Date      Actual      Projected Difference            Actual   Projected Difference          Description           Actual         Projected Difference
   Feb 2020                                                                                     Starting Balance        -$2,076.87        $841.98       -$2,918.85
   Feb 2020      $339.94           $280.68       $59.26       $0.00             $0.00   $0.00                            -$1,736.93      $1,122.66      -$2,859.59

   Mar 2020      $339.94           $280.68       $59.26       $0.00             $0.00   $0.00                            -$1,396.99      $1,403.34     -$2,800.33

   Apr 2020      $280.68           $280.68        $0.00       $0.00             $0.00   $0.00                            -$1,116.31     $1,684.02      -$2,800.33

   May 2020     $1,255.12          $280.68      $974.44       $0.00             $0.00   $0.00                              $138.81       $1,964.70      -$1,825.89
   (estimate)

   Jun 2020      $313.78           $280.68       $33.10      $857.81       $855.05      $2.76   CUYAHOGA                  -$405.22       $1,390.33      -$1,795.55
   (estimate)                                                                                   COUNTY(A)(5)

   Totals       $2,529.46      $1,403.40       $1,126.06     $857.81       $855.05      $2.76




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